70 F.3d 1262
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Vincent Edward LITTLE, Plaintiff-Appellant,v.R. MCKENZIE, in his individual and official capacity;Parker Evatt, Commissioner, South Carolina Department ofCorrections, in his individual and official capacity;  KevinDoughty, in his individual and official capacity;  R. Reed,in his individual and official capacity, Defendants-Appellees.
    No. 95-6856.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  November 16, 1995.Decided:  November 30, 1995.
    
      Vincent Edward Little, Appellant Pro Se.  Robert Bunyan Lewis, Lewis, Reeves &amp; Stone, Columbia, SC, for Appellees.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Little v. McKenzie, No. CA-93-1011-2-22-AJ (D.S.C. May 5, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    